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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                              Case No. 24-20321-CR-RAR

   UNITED STATES OF AMERICA

   vs.

   MALAINA CHAPMAN,

                          Defendant.
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                                  STIPULATED FACTUAL BASIS
                                  IN SUPPORT OF GUILTY PLEA

          MALAINA CHAPMAN (hereinafter referred to                    as   the   "Defendant")    hereby

   acknowledges that, had this case proceeded to trial , the United States would establish the following

   facts beyond a reasonable doubt:

          The government would have proved , and the Defendant agrees that she participated in

   multiple schemes to defraud various Covid-19 relief programs including the Paycheck Protection

   Program (PPP), Economic Injury and Disaster Loan (EIDL), the City of Miami Emergency Rental

   Assistance Program and the State of Florida Emergency Rental Assistance program. The

   government would have proved that she defrauded these programs by causing the submission of

   false and fraudulent loan applications to the SBA and SBA-approved PPP Lenders and false

   applications to the C ity of Miami and the State of Florida. The government would have proved

   that she conspired with numerous individuals known and unknown to the grand jury, and

   knowingly caused the submission of false documents in support of the numerous PPP loan

   applications, some of which were in her own name and some of which were in the name of others .

          The government wou ld have proved that the defendant worked at the Small Business

   Administration (SBA) as a disaster relief specialist in 2020 and 2021 . On February I 0, 2021 , while
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   still employed by the SBA, the defendant submitted a PPP loan application to Lender 3 in the

   name of Upscale Credit Lounge. According to Sun biz, the defendant was listed as the Manager of

   the corporation. In support of her application , the defendant submitted a tax year 2020 Schedule C

   that reported gross revenues of $103,674 and a tentative profit of $81 ,860. Lender 3 relied upon

   the representations in the defendant' s application and on February 11 , 2021 , approved a loan in

   the amount of $17,052.50. Records were obtained pursuant to an Ex-Parte tax order and the actual

   Schedule C fi led with the IRS in her 2020 tax returns showed she reported gross revenues of

   $37,010 and tentative profit of negative $3464.

          On February 19, 2021 , the defendant submitted, via interstate wire communication, a PPP

   loan application with Lender 3 on behalf of DA TRAP LLC ("DA TRAP"). According to

   SUNBIZ, the defendant was listed as the Manager of the company. In her application, she claimed

   DA TRAP had four (4) employees and an average monthly payroll of$14, 19l. In support of her

   application, the defendant submitted four (4) IRS Employers Quarterly Tax Return ("Form 941 "),

   which purportedly documented the wages paid by DA TRAP.                Lender 3 relied upon the

   representations in the application and on February 26, 2021 , approved a loan in the amount of

   $35 ,477.50. Records obtained pursuant to an Ex-Parte tax application for DA TRAP revealed that

   the 941 's filed with the lender were not filed with the IRS at the time she filed her actual tax

   returns. The government wou ld have proved that the defendant submitted and caused the

   submission of false and fraudulent EIDL and other PPP loan applications in her own name other

   than the two mentioned above .

          The government would also have presented evidence that the defendant prepared PPP loan

   applications and forgiveness applications for co-conspirators in return for the payment of

   kickbacks. The defendant sent a March 11 , 2021 , email in which she stated "thank you for allowing



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   The Upscale Resource to assist with your PPP application. Congratulations on being approved by

   the SBA. Next steps would be to use the funds correctly so that the loan will be forgiven. We also

   provide loan forgiveness ." The email further stated, "if you received a loan in the amount of

   $20,833 your payment today will be $2083." Investigation has revealed that the defendant prepared

   loan and forgiveness applications for numerous individuals and the government would have

   introduced tax records for six (6) individuals that the defendant conspired with and in each instance

   a false Schedule C was submitted to back up the false representations contained in the loan

   applications. One of these six (6) individuals for whom the defendant submitted a loan application

   was Individual 5 who was incarcerated at the time he applied for a PPP loan. The defendant

   prepared a PPP loan application that stated that Individual 5 was not incarcerated at the time of the

   application when in truth Individual 5 was incarcerated in the Dade County Jail and the defendant

   knew this because he was the father of her child . The government also would have introduced text

   messages in which the defendant communicated with the applicants she recruited into the scheme

   in which she discussed taking various actions on their behalf and applying for forgiveness.

          All of these events took place in Miami-Dade County, in the Southern District of Florida.




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                                                           Defendant

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                                                          Attorney for MALAINA CHAPMAN


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                                                          Assistant United States Attorney




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